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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                               x

In re:                                                                             Chapter 7

BMT DESIGNERS & PLANNERS, INC.,                                                    Case No. 22-10123 (MG)
fdba BMT D&P, fdba BMT fdba BMT DAS US,

                           Debtor.
                                                              x

    ORDER EXTENDING CHAPTER 7 TRUSTEE’S TIME TO ASSUME OR REJECT
       EXECUTORY CONTRACTS OR UNEXPIRED LEASE TO JUNE 3, 2022

         Upon the motion dated March 30, 2022 [ECF Doc. # 45] (“Motion”)1 of Salvatore

LaMonica, solely in his capacity as the Chapter 7 Trustee (“Trustee”) of the Estate of BMT

Designers & Planners, Inc., fdba BMT D&P, fdba BMT fdba BMT DAS US, by and through his

counsel, LaMonica Herbst & Maniscalco, LLP, seeking the entry of an Order, pursuant to

Bankruptcy Code section 365, extending the Trustee’s time to assume or reject executory contracts

of the Debtor for a period of sixty (60) days from April 4, 2022 through and including June 3,

2022, and for related relief; and upon the Motion having been served on all necessary parties with

an affidavit of service having been electronically filed with the Court [ECF Doc. # 46]; and upon

no objections to the relief requested in the Motion having been filed; and upon the Trustee having

filed a certificate of no objection to the relief being sought in the Motion [ECF Doc. # 56]; and the

Court having marked off the hearing on the Motion; and upon the Court having jurisdiction to

consider the Motion and the relief requested therein in accordance with 28 U.S.C. §§ 157 and

1334; and consideration of the Motion and the relief requested therein being a core proceeding

pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C.

§§ 1408 and 1409; and the Court having found and determined that the relief sought in the Motion


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         Capitalized terms not otherwise defined herein shall have the definition ascribed to them in the Motion.
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is in the best interest of the Estate, and its creditors and all parties in interest and that the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; and after due

deliberation and sufficient cause appearing therefore, it is hereby

        ORDERED, that the Trustee’s time to assume or reject executory contracts is extended for

a period of sixty (60) days from April 4, 2022 through and including June 3, 2022 (“Extension”);

and it is further

        ORDERED, that the Extension granted to the Trustee is without prejudice to the Trustee’s

right to seek further extensions pursuant to Bankruptcy Code section 365(d) or other appropriate

relief by motion, and it is further

        ORDERED, that the Trustee is authorized to do such things, take such steps and perform

such acts as may be reasonably necessary to implement and effectuate the terms of this Order; and,

it is further

        ORDERED, that this Court shall retain jurisdiction to hear and determine all matters

arising from the implementation of this Order.




IT IS SO ORDERED.
Dated: April 18, 2022
       New York, New York

                                                 ______/s/ Martin Glenn__________
                                                        MARTIN GLENN
                                                 Chief United States Bankruptcy Judge




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